TheCase 19-00149-SMT
    order              Doc 57
           below is hereby     Filed 05/01/19
                           signed.                  Entered 05/02/19 00:12:18   Desc Imaged
                            Certificate of Notice    Page 1 of 3
Signed: April 29 2019




                                              _____________________________
                                              S. Martin Teel, Jr.
                                              United States Bankruptcy Judge


                           UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF COLUMBIA

       In re                                 )
                                             )
       THOMAS K. STEPHENSON,                 )        Case No. 19-00149
                                             )        (Chapter 11)
                          Debtor.            )

                             ORDER DENYING APPLICATION
                     TO APPROVE EMPLOYMENT OF SPECIAL COUNSEL

             Although 11 U.S.C. § 327(e) does not require that a proposed

       special counsel be disinterested, it does require that the

       proposed special counsel not represent or hold any interest

       adverse to the debtor or to the estate with respect to the matter

       on which such attorney is to be employed.              The declaration

       submitted in support of the Application to Approve Employment of

       Special Counsel indicates: “The firm represents an interest

       adverse to the Debtor-in-Possession herein, or his estate in the

       manner upon, which the firm is engaged as is evidenced by the

       ongoing civil case in the DC Superior Court.”               It is thus

             ORDERED that the Application to Approve Employment of

       Special Counsel (Dkt. No. 37) is DENIED.

                                                           [Signed and dated above.]
Case 19-00149-SMT                                                                       Doc 57 Filed 05/01/19 Entered 05/02/19 00:12:18   Desc Imaged
                                                                                             Certificate of Notice Page 2 of 3


    Copies to: Debtor; recipients of e-notifications.




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                                                                                                                        2
        Case 19-00149-SMT              Doc 57 Filed 05/01/19 Entered 05/02/19 00:12:18                               Desc Imaged
                                            Certificate of Notice Page 3 of 3
                                               United States Bankruptcy Court
                                                   District of Columbia
In re:                                                                                                     Case No. 19-00149-SMT
Thomas K. Stephenson                                                                                       Chapter 11
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0090-1                  User: admin                        Page 1 of 1                          Date Rcvd: Apr 29, 2019
                                      Form ID: pdf001                    Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
May 01, 2019.
dbpos           Thomas K. Stephenson,   711 49th Street, NE,   Apt #1A,   Washington, DC 20019-4815

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: May 01, 2019                                             Signature: /s/Joseph Speetjens

_

                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on April 29, 2019 at the address(es) listed below:
              Benjamin P. Smith    on behalf of Creditor    EagleBank bsmith@shulmanrogers.com,
               ctremper@shulmanrogers.com
              Charles M. Maynard    on behalf of Debtor In Possession Thomas K. Stephenson
               CMaynard@MaynardLawGroup.com
              Jessica Hepburn Sadler    on behalf of Creditor    Branch Banking and Trust Company
               sadlerjh@ballardspahr.com, andersonn@ballardspahr.com
              John D. Sadler    on behalf of Creditor    Branch Banking and Trust Company sadlerj@ballardspahr.com
              Joseph A. Guzinski    on behalf of U.S. Trustee    U. S. Trustee for Region Four
               Joseph.A.Guzinski@usdoj.gov, USTPRegion04.DC.ECF@USDOJ.GOV;Bradley.D.Jones@usdoj.gov
              Nancy L. Alper    on behalf of Creditor    District of Columbia nancy.alper@dc.gov
              U. S. Trustee for Region Four    USTPRegion04.DC.ECF@USDOJ.GOV
                                                                                               TOTAL: 7
